Case 2:04-CV-02194-BBD-tmp Document 17 'Filed 09/02/05 Page 1 of 2 Page|D 142

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lN THE UNITED STATES DISTRICT cOURT ' ‘
FOR THE WESTERN DISTRICT oF TENNESSEE 95 SEP -2 pH ,: 08
WESTERN DIVISION
cLEWT<HO*M§?'¢' GOULD
UNITED STATES OF AMERICA, ) W]@ §§ ;L'.'SIH;QT
) l w '-.~H.Wg
Plainriff, )
)
v. ) cv. No. 04-2194-D/P
)
MARCUS BOYD, )
)
Defendant. )
)

 

ORDER ALLOWING BRIEF IN EXCESS OF PAGE LIMITATION

 

Upon written motion of the United States and for good cause shown, it is hereby
ORDERED that the United States shall be allowed to file and have considered its Reply
to Memorandum of F acts and Law in Support of Motion Filed Pursuant to Title 28 U.S.C. §

2255, notwithstanding the twenty-two (22) page length.

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 17 in
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September 8, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

